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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


DAVID SEEVER                                )
                                            )            CASE NO. 1.11-cv-00260BLW
        Plaintiff                           )
                                            )
        v                                   )
                                            )            JUDGMENT
SAXON MORTGAGE SERVICES INC, a              )
Virginia Corporation; WELLS FARGO BANK )
National Association, as Trustee for        )
Securitized Asset Backed Receivables LLC    )
2005-FRI Mortgage Pass Through Certificates )
Series 2005 – FRI                           )
                                            )
        Defendants                          )
______________________________________ )

        Finding good cause therefore,
        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED, that this matter is
dismissed with prejudice and that each party shall be responsible for each party’s own costs
and attorneys fees.
        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that the Clerk shall
close this case.




                                                    DATED: August 15, 2013
                                               

                                                    _________________________
                                                    B. Lynn Winmill
                                                    Chief Judge
                                                    United States District Court



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JUDGMENT	‐‐		2	
 
